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FOIA APPEALS

October 8, 2003

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Appeal of FN-1 and FN-1B-

Commander 5 ti time Emmy Avard Winner
U.S. Army Special Operations Command .

Deputy Chief of Staff, Information Management
ATTN: AOIM-ISM (FOIA Officer)
Fort Bragg, NC 28310

Re: Notice of FOIA Twenty-Day Statutory Deadline Violation

Dear Ms. Wrench,

On June 26, 2003 and August 15, 2003, I mailed your office a written request under the Federal
Freedom of Information Act for any information regarding the attached FOIA requests.

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The FOIA requires that your office respond to a FOIA request within twenty business days from
the date of receipt of such a request. According to my records, the first request was sent on June
28, 2003 and the second request was sent on August 25, 2003. You signed postal receipts for the
FOIA requests on September 3, 2003. It appears that this deadline has now elapsed without.
response from your office. In this case, no response is clearly a denial.

While I do not wish to resort to litigation, because of the nature of this information, legal action
may be necessary, and we are prepared to file the appropriate civil action in the U.S. District _
Court, District of Columbia if need be. I hope we can resolve this without litigation. -

Thank you for your assistance,

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Ed Caraballo
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Commander Ed Caraballo, Producer —
U.S. Army Special Operations Command 5 time Emmy Award Winner

Deputy Chief of Staff, Information Management
ATTN: AOIM-ISM (FOIA Officer)

FOIA APPEAL

October 8, 2003
Appeal of FN-2 AND FN-2B

7055 3400 ooLe

Fort Bragg, NC 28310

Re: Notice of FOIA Twenty-Day Statutory Deadline Violation
Dear Ms. Wrench,

On June 27, 2003 and August 16, 2003, I mailed your office a written request under the Federal
Freedom of Information Act for any information regarding the attached FOIA requests.

The FOIA requires that your office respond to a FOIA request within twenty business.days from
the date of receipt of such a request. According to my records, the first request was sent on June
28, 2003 and the second request was sent on August 25, 2003. You signed postal receipts for the
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Thank you for your assistance,
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Ed Caraballo
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FOIA APPEAL

October 8, 2003 ‘
Appeal of FN-3 AND FN-3B |

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Caraballo, Producer "
5 time Emmy Award Winner

Commander

U.S. Army Special Operations Command
Deputy Chief of Staff, Information Management
ATTN: AOIM-ISM (FOIA Officer)

Fort Bragg, NC 28310

Re: Notice of FOLA Twenty-Day Statutory Deadline Violation

Dear Ms. Wrench,

On June 28, 2003 and August 17, 2003, I mailed your office a written request under the Federal
Freedom of Information Act for any information regarding the attached FOIA requesis.

The FOIA requires that your office respond to a FOIA request within twenty business days from
the date of receipt of such a request. “According to my records, the first request was sent on June
28, 2003 and the second request was sent on August 25, 2003. You signed postal receipts for the
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Court, District of Columbia if need be. I hope we can resolve this without litigation.

Thank ‘you for your assistance,
Ld Cte, 2,

Ed Caraballo
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FOIA APPEAL

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October 8, 2003
Appeal of FN-4 and FN 4B

Bower cee stint aici eas

Ed Caraballo, Producer
5 time Emmy Award Winner

Commander

ULS. Army Special Operations Command
Deputy Chief of Staff, Information Management
ATTN: AOIM-ISM (FOIA Officer)

Fort Bragg, NC 28310

Re: Notice of FOIA Twenty-Day Statutory Deadline Violation

_ Dear Ms. Wrench,

On June.29, 2003 and August 18, 2003, I mailed your office a written request under the Federal
Freedom of Information Act for any information regarding the attached FOIA requests.

The FOIA requires that your office respond to a FOIA request within twenty business days from
the date of receipt of such a request. According to my records, the first request was sent on June
30, 2003 and the second: request was.sent on August 25, 2003. You signed postal receipts for the
FOIA requests on September 3, 2003. It appears that this deadline has now elapsed without
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Court, District of Columbia if need be. I hope we can resolve this without litigation.

Thank you for your assistance,
Ci Cee

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